Case 4:20-cv-00957-SDJ Document 221-2 Filed 02/07/24 Page 1 of 7 PageID #: 5090




               EXHIBIT B
Case 4:20-cv-00957-SDJ Document 221-2 Filed 02/07/24 Page 2 of 7 PageID #: 5091
                                                                                  1




                              UNITED STATES JUDICIAL PANEL
                               ON MULTIDISTRICT LITIGATION

         _______________________________

         IN RE: DIGITAL ADVERTISING                 MDL No. 3010
         ANTITRUST LITIGATION                       July 29, 2021
                                                    10:43 a.m.
         _______________________________



                              TRANSCRIPT OF ORAL ARGUMENT

         Chair:                            Honorable Karen K. Caldwell, Chair
                                           United States District Court
                                           Eastern District of Kentucky

         Members:                          Honorable Catherine D. Perry
                                           United States District Court
                                           Eastern District of Missouri

                                           Honorable Nathaniel M. Gorton
                                           United States District Court
                                           District of Massachusetts

                                           Honorable Matthew F. Kennelly
                                           United States District Court
                                           Northern District of Illinois

                                           Honorable David C. Norton
                                           United States District Court
                                           District of South Carolina

                                           Honorable Roger T. Benitez
                                           United States District Court
                                           Southern District of California

                                           Honorable Dale A. Kimball
                                           United States District Court
                                           District of Utah


                             DEBRA M. JOYCE, RMR, CRR, FCRR
                                Official Court Reporter
                            John J. Moakley U.S. Courthouse
                              1 Courthouse Way, Room 5204
                                   Boston, MA 02210
                                  joycedebra@gmail.com
Case 4:20-cv-00957-SDJ Document 221-2 Filed 02/07/24 Page 3 of 7 PageID #: 5092
                                                                                  2




  1      APPEARANCES:

  2      Eric Mahr, Esq.
         Freshfields Bruckhaus Deringer, LLP
  3      For Google, LLC

  4      Kevin J. Orsini, Esq.
         Cravath, Swaine & Moore, LLP
  5      For Facebook, Inc.

  6      Kate M. Baxter-Kauf, Esq.
         Lockridge Grindal Nauen, P.L.L.P.
  7      For SPX Total Body Fitness, LLC

  8      Jordan Elias, Esq.
         Girard Sharp, LLP
  9      For Surefreight Global, LLC, et al.

 10      Carol O'Keefe, Esq.
         Korein Tillery, LLC
 11      For Genius Media Group, Inc., et al.

 12      Serina M. Vash, Esq.
         Herman Jones, LLP
 13      For AIM Media Indiana Operating, LLC, et al.

 14      John Thorne, Esq.
         Kellogg, Hansen, Todd, Figel & Frederick, P.L.L.C.
 15      For Associated Newspapers Ltd., et al.

 16      Jonathan Rubin, Esq.
         MoginRubin, LLP
 17      For Cliffy Care Landscaping, LLC

 18      W. Mark Lanier, Esq.
         The Lanier Law Firm, P.C.
 19      For States of Texas, et al.

 20

 21

 22

 23

 24

 25
Case 4:20-cv-00957-SDJ Document 221-2 Filed 02/07/24 Page 4 of 7 PageID #: 5093
                                                                                  24




  1                 We will turn to the next counsel, Mark Lanier.

  2                 MR. LANIER:    May it please the court, thank you, your

  3      Honors.    My name is Mark Lanier.      I represent a number of

  4      the -- well, I represent all of the states and the District of

  5      Puerto Rico, Alaska, Arkansas, Florida, Idaho, Indiana,

  6      Kentucky, Louisiana, Mississippi, Missouri, Montana, Nevada,

  7      North and South Dakota, Texas, Utah, and Puerto Rico.

  8                 I oppose centralization of this case, and with that, I

  9      will commence.     May it please the Court.

 10                 Judge Kennelly, I'm coming straight to you because

 11      this is the first time in my entire life to argue for no

 12      centralization in front of the JPML, and I will be using some

 13      of the arguments that have been used so effectively against me

 14      over the years as I try to do this.

 15                 There are three arguments to make in two quick

 16      minutes.

 17                 Number one, urgency.     Speed really is important here.

 18      It's important for a number of reasons, including the fact that

 19      there's an inherent amount of immense power that we've seen

 20      exercised in elections and other places as well in the hands of

 21      Google.    And we believe that the legislators recognize the

 22      importance of urgency here.       We have tried to do what we think

 23      the JPML has urged us to do before, and that is, consolidate

 24      all of these cases.      Even the two pending cases wanting to

 25      intervene in Louisiana and South Carolina are seeking our
Case 4:20-cv-00957-SDJ Document 221-2 Filed 02/07/24 Page 5 of 7 PageID #: 5094
                                                                                   25




  1      counsel as well, and that I'll represent Louisiana in that

  2      intervention and ultimately South Carolina I expect as well.

  3      So we're trying to consolidate as best as we can without

  4      imposing on the JPML and all that it requires.

  5                It's also important for the court to understand that

  6      we've been intensely involved in this.         We've got two years

  7      going now because of all of the pretrial work.          We took over 50

  8      statements, equivalent to depositions, before filing the case.

  9      We've got over two million documents.         We've got documents and

 10      information from 25 third parties at this point.           We have won

 11      the 1404 transfer motion because Google uses Texas as one of

 12      its nexus points for all of its technology.

 13                So within the framework of that argument, two,

 14      substance.    The parens patriae not covered here.         We are

 15      seeking to recover for individuals in a different sense.            For

 16      example, we want to disgorge the private data that's been

 17      secured wrongly by Facebook.

 18                Final point, three, clarification.         Judge Jordan has

 19      taken a strong look at this case, a strong active involvement.

 20      He's issued a protective order, he's issued a 1404 motion.

 21      We've got discovery under way, we've got -- documents have been

 22      scheduled.

 23                Thank you.

 24                JUDGE CALDWELL:     Questions for Mr. Lanier?

 25                Judge Kennelly.
Case 4:20-cv-00957-SDJ Document 221-2 Filed 02/07/24 Page 6 of 7 PageID #: 5095
                                                                                  26




  1                JUDGE KENNELLY:     I have two, let me ask the first one,

  2      and then I'll ask the other one.

  3                The first one goes back to the questions I asked some

  4      of the other folks, which are really more questions for you.

  5                So I get that you're asking to break up and I get that

  6      you're asking for disgorgement, but the complaint also says

  7      you're asking for damages.       And as I understand the parens

  8      patriae part of the claim which has been described by some of

  9      the other counsel, you're suing on behalf of natural persons,

 10      quote-unquote, that's what the statute says, and you have to

 11      carve out any business entities or anything like that.

 12                So am I right -- so who are the -- what's the damage

 13      to the natural persons in the 14 or so states that you

 14      represent?

 15                MR. LANIER:     Your Honor, the damage falls by and large

 16      into the civil protection actions that I'd emphasize to you

 17      right now.    In Texas it's the deceptive Trade Practices Act.

 18      It says that an entity, like Google, cannot falsely

 19      misrepresent that they're destroying everybody's individual

 20      data and not selling it when, in fact, they are selling it and

 21      they're not destroying it.       And so we've got an action for

 22      that.   That's not found in any of the class actions that have

 23      been sought.    That is solely an individual distinct action.

 24                Yes, sir.

 25                JUDGE KENNELLY:     So my question was what about
Case 4:20-cv-00957-SDJ Document 221-2 Filed 02/07/24 Page 7 of 7 PageID #: 5096
                                                                                  31




  1                JUDGE CALDWELL:     Hearing none, we have your argument,

  2      and that concludes the matter MDL number 3010, and our

  3      arguments for the day.

  4                The panel will be in recess.

  5                (Court adjourned at 11:20 a.m.)

  6                              - - - - - - - - - - - -

  7                                   CERTIFICATION

  8                I certify that the foregoing is a correct transcript

  9      of the record of proceedings in the above-entitled matter to

 10      the best of my skill and ability.

 11

 12

 13

 14      /s/Debra M. Joyce                          August 3, 2021
         Debra M. Joyce, RMR, CRR, FCRR             Date
 15      Official Court Reporter

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25
